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                  United States Court of Appeals
                              FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                        ____________
No. 23-5154                                                  September Term, 2023
                                                                        1:19-cv-02367-ABJ
                                                         Filed On: September 1, 2023
In re: Merrick B. Garland, in his official
capacity as Attorney General, et al.,

              Petitioners

       BEFORE:        Henderson*, Pillard, and Childs, Circuit Judges

                                             ORDER

      Upon consideration of the petition for writ of mandamus, the opposition thereto,
and the reply, it is

        ORDERED that the petition for writ of mandamus be denied. Petitioners have
not shown that they are entitled to the extraordinary remedy of mandamus. Cheney v.
U.S. Dist. Court, 542 U.S. 367, 380 (2004). Petitioners contend that the district court
committed a “clear abuse of discretion,” In re Clinton, 973 F.3d 106, 111 (D.C. Cir.
2020) (internal quotation marks omitted), by authorizing respondents to depose former
President Trump. Before authorizing the deposition, however, the district court held
multiple hearings on the relevant issues, considered several rounds of additional
briefing, and required respondents to exhaust other means of obtaining the information
they sought. The district court limited the deposition to two hours, and to a narrow set
of topics it identified. Having employed particular “deference and restraint” considering
the separation-of-powers concerns at issue, see Nixon v. Fitzgerald, 457 U.S. 731, 753
(1982), the district court ultimately concluded that “extraordinary circumstances”
warranted the deposition of the former President. See Simplex Time Recorder Co. v.
Sec’y of Labor, 766 F.2d 575, 586 (D.C. Cir. 1985); see also In re Cheney, 544 F.3d
311, 314 (D.C. Cir. 2008). Under these circumstances, petitioners have not shown that
the district court’s conclusion was a clear abuse of discretion warranting mandamus
relief.

       Pursuant to D.C. Circuit Rule 36, this disposition will not be published.

                                         Per Curiam

                                                           FOR THE COURT:
                                                           Mark J. Langer, Clerk

                                                   BY:     /s/
                                                           Lynda M. Flippin
                                                           Deputy Clerk

* Judge Henderson would grant the petition for writ of mandamus.
